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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                               :
NATIONAL ENDOWMENT FOR                         :
DEMOCRACY,                                     :
                                               :       No. 1:25-cv-648-DLF
               Plaintiff,                      :
                                               :
       v.                                      :
                                               :
UNITED STATES OF AMERICA, et al.,              :
                                               :
               Defendants.                     :
                                               :

                   PROPOSED SCHEDULE REGARDING MOTION FOR A
                         TEMPORARY RESTRAINING ORDER

       Pursuant to the Court’s March 6, 2025 Minute Order, the parties in the above-captioned

action have met and conferred to discuss a proposed schedule regarding Plaintiff’s Motion for a

Temporary Restraining Order (Dkt. 5). The parties respectfully submit the following proposals

for the Court’s consideration.

       Defendants’ Position

       After conferring with Plaintiff’s counsel in an attempt to reach a mutually agreeable

schedule, Defendants propose the following schedule:

               •       Opposition due 5pm on Thursday, March 13

               •       Reply due noon on Saturday, March 15

               •       Defendants defer to the Court on scheduling any hearing, but have no
                       objection to and are available for a hearing on Monday, March 17

       Defendants respectfully submit that this schedule—affording them less than seven full

days to respond to Plaintiff’s motion—is reasonable, given that undersigned counsel for

Defendants did not learn of this lawsuit until earlier this morning, despite Plaintiff’s alleged


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harms beginning over a month ago. See TRO Mot. (ECF No. 5-1) at 9 (stating that “[t]he

Endowment has not been able to withdraw funds from Treasury” since at least “January 28 and

30, 2025”). Given that Plaintiff had over a month to prepare its motion for emergency relief,

affording Defendants seven days to respond to Plaintiff’s motion—which is accompanied by a

42-page memorandum and close to 100 pages of declarations and other supporting exhibits—is

far more equitable than Plaintiff’s proposal below of less than four business days.

       Contrary to Plaintiff’s suggestion below, the Government should not be expected to

provide an “assurance” about hypothetical future events to obtain a reasonable briefing schedule.

Indeed, Plaintiff’s expressed concern—that a potential future lapse in government appropriations

might delay or interfere with implementation of any relief this Court might provide—depends on

a hypothetical chain of events that the D.C. Circuit has made clear is “too speculative” to predict.

Leonard v. Dep’t of Def., 598 F. App’x 9, 10 (D.C. Cir. 2015); see also, e.g., Am. Fed’n of Gov’t

Emps. v. Rivlin, 995 F. Supp. 165, 166 (D.D.C. 1998), aff’d sub nom. Am. Fed’n of Gov’t Emps.

v. Raines, No. 98-5045, 1998 WL 545417 (D.C. Cir. July 15, 1998); Nat’l Treasury Emps. Union

v. United States, 444 F. Supp. 3d 108, 116 (D.D.C. 2020). Likewise here, this Court should not

enter a briefing schedule based on an inherently political prediction about whether Congress and

the Executive will (or will not) enact certain funding legislation on a particular timeframe. Thus,

Defendants respectfully request that the Court enter their proposed schedule, affording

Defendants approximately seven days for their response.

       Plaintiff’s Position

       Plaintiff the National Endowment for Democracy (Endowment) would ordinarily agree to

Defendants’ proposed schedule. However, it is possible that there will be a government

shutdown beginning on March 15. The Endowment is concerned that a shutdown could impede



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or delay Defendants’ implementation of an injunction, threatening to extend the Endowment’s

irreparable harms. Therefore, unless the government is able to provide an assurance that a

shutdown would not prevent any timely payments required due to an order by this Court (and we

understand that they may not be in a position to do so), the Endowment proposes the following

schedule, which would allow the Court to enter a temporary restraining order with sufficient time

for the Defendants to implement the injunction before any shutdown begins:

              •       Opposition due 5pm on Tuesday, March 11

              •       Reply due 5pm on Wednesday, March 12

              •       Parties available for a hearing on Thursday, March 13




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Dated: March 6, 2025                      Respectfully submitted,


                                          /s/ Donald B. Verrilli, Jr.
YAAKOV M. ROTH                            Donald B. Verrilli, Jr. (D.C. Bar No. 420434)
Acting Assistant Attorney General         Ginger D. Anders (D.C. Bar No. 494471)
                                          Jeremy S. Kreisberg (D.C. Bar No. 1048346)
ALEXANDER K. HAAS                         Helen E. White (D.C. Bar No. 1741368)*
Director, Federal Programs Branch         Esthena L. Barlow (D.C. Bar No. 90000252)*
                                          MUNGER, TOLLES & OLSON LLP
 /s/ Daniel Schwei                        601 Massachusetts Avenue NW, Suite 500E
 DANIEL SCHWEI                            Washington, D.C. 20001
 Special Counsel (N.Y. Bar)               (202) 220-1100
JJULIA A. HEIMAN                          Donald.Verrilli@mto.com
 Senior Counsel                           Ginger.Anders@mto.com
 United States Department of Justice      Jeremy.Kreisberg@mto.com
 Civil Division, Federal Programs         Helen.White@mto.com
 Branch                                   Esthena.Barlow@mto.com
 1100 L Street NW
 Washington, DC 20530                     Gabriel M. Bronshteyn (pro hac vice forthcoming)
 Tel.: (202) 305-8693                     MUNGER, TOLLES & OLSON LLP
 Fax: (202) 616-8460                      560 Mission Street, Twenty-Seventh Floor
 Email: daniel.s.schwei@usdoj.gov         San Francisco, California 94105
                                          (415) 512-4000
Counsel for Defendants                    Gabriel.Bronshteyn@mto.com

                                          * admission pending

                                          Attorneys for the National Endowment for
                                              Democracy




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